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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER          MDL No. 2843
PRIVACY USER PROFILE LITIGATION         Case No. 18-md-02843-VC-JSC


This document relates to:               [PROPOSED] ORDER GRANTING
                                        PLAINTIFFS’ ADMINISTRATIVE
ALL ACTIONS                             MOTION TO TEMPORARILTY FILE
                                        UNDER SEAL




[PROPOSED] ORDER                                                      MDL NO. 2843
                                                           CASE NO. 18-MD-02843-VC
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